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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION - DETROIT

Trustees of the
NATIONAL ELECTRICAL ANNUITY PLAN,

      Plaintiffs,
v.

HENKELS & MCCOY, INC.,

     Defendant.
_________________________________________________________________/

                                   COMPLAINT

      The above-named plaintiffs, by and through their attorneys, SACHS

WALDMAN, complaining against the above-named defendant, respectfully show

unto this Court as follows:

      1.     Plaintiffs are the Trustees for the National Electrical Annuity Plan, which

is a trust fund established under, and administered pursuant to, Section 302 of the

Labor-Management Relations Act, of 1947, as amended (“LMRA”), 29 U.S.C. §186,

and the Employee Retirement Income Security Act of 1974, as amended, hereinafter

"ERISA", 29 USC §1001, et seq., with principal offices located in Rockville,

Maryland.




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      2.     Defendant, Henkels & McCoy, Inc., is a Pennsylvania corporation,

certified to do business in the State of Michigan, engaged in the building and

construction industry, an industry affecting commerce within the meaning of the

LMRA and 29 USC §1002(5) and (12), and its principal place of business is located

in Blue Bell, Pennsylvania.

      3.     Jurisdiction of this Court is predicated on Section 301 of LMRA, 29

USC §185, and Sections 502(a)(2) and 515 of ERISA, 29 USC §1132(a)(2) and

§1145, this being a suit for breach of the fringe benefit provisions of collective

bargaining agreements entered into between the defendant, as Employer, the

International Brotherhood of Electrical Workers (“IBEW”) and Local Unions #17 and

#876 of the International Brotherhood of Electrical Workers (“Local Unions”), labor

organizations representing employees in an industry affecting commerce.

      4.     Pursuant to 29 USC §1132(e)(2), this action is appropriately brought in

this district, since it is where the breach took place and where the defendant currently

may be found performing work.

      5.     On March 1, 1995, the IBEW and defendant signed the Teledata

Agreement (Exhibit A) which applies to “low voltage construction, installation,

maintenance, and removal of teledata facilities (voice, data, and video). . .”

throughout the United States. This agreement, which remains in effect, has been

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supplemented in the State of Michigan over the years through agreement between

defendant and the local unions.

      6.     In early 2011, the local unions and defendant signed an Appendix to the

National Agreement to be effective from November 29, 2010 through November 27,

2011 (Exhibit B). Section 5.07 of that Appendix provided that defendant would

contribute to the NEAP at the rate of 16.5 percent of its gross monthly labor payroll.

      7.     In December, 2011, through a Memorandum of Understanding (“2011

MOU I”) (Exhibit C) the local unions and defendant agreed to extend the 2010-2011

Appendix for three years to November 23, 2014. 2011 MOU I was signed by Henkels

& McCoy on December 9, 2011; by Local 876 on December 12, 2011; and by Local

17 on December 15, 2011.

      8.     Through this extension of the 2010 - 2011 Appendix, the parties agreed

that defendant would continue to be obligated to contribute to NEAP at a rate of

16.5% of its gross monthly labor payroll, with one exception. On the same dates on

which the parties signed 2011 MOU I, the parties entered into a separate

Memorandum of Understanding (“2011 MOU II”) (Exhibit D) which provided that

defendant would not have to contribute to the NEAP on “all outside telephone work”

performed by the Employer.




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         9.    Most recently, in 2017, the local unions and defendant signed an

Appendix to the Teledata Agreement which is effective November 21, 2016 through

November 25, 2018 (Exhibit E). In Section 5.07 of this Appendix, the parties agreed

to contribute to NEAP an amount equal to 17% of payroll the first year of the

agreement and to 18% effective November 24, 2017.

         10.   Defendant began work within the State of Michigan in 2018. Despite

demand, it has refused to contribute to NEAP on behalf of its employees working

within the State based upon 2011 MOU II, which defendant contends is still in effect.

         11.   Defendant’s position is incorrect. First, 2011 MOU II only applied to

“outside telephone work” and Henkels & McCoy is not currently performing outside

telephone work in this State. Second, 2011 MOU II has not been in effect since, at

the latest, November 21, 2016 when the parties signed the current Appendix which

increased the NEAP contribution to 17% and ultimately to 18%, while making no

exception for any type of work.

         12.   The total amount of defendant's indebtedness for delinquent

contributions to NEAP, accrued liquidated damages, and interest to date cannot be

determined until defendant submits its complete books and records for inspection and

audit.




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       WHEREFORE, plaintiffs pray that judgment be entered in their favor

containing the following provisions:

       A.    Adjudicating that the defendant entered into (or adopted) collective

bargaining agreements with the Local Unions and that, pursuant to such agreements

and applicable law, the defendant was obligated to make fringe benefit contributions

to NEAP for, or with respect to work performed by, those of its employees who were

represented by the Union;

       B.    Ordering defendant to submit to the plaintiffs any and all books and

records needed by them to determine the amount of its indebtedness through present,

and;

       C.    Upon submission of a motion to amend, awarding the plaintiffs the

amount of defendant’s indebtedness, as ascertained by the above audit, plus interest,

costs, attorneys fees and other amounts to which plaintiffs are entitled pursuant to 29

USC §1132(g)(2);




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      D.    Awarding plaintiffs any and all other equitable and injunctive relief to

which they may be entitled.

                               Respectfully submitted,

                               SACHS WALDMAN

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